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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       MUSE ABDIKADIR MUSE                                                       DISTRICT JUDGE:         Robert J. Jonker

    CASE NUMBER                       DATE                TIME (begin/end)             PLACE                   INTERPRETER
    1:19-CR-25-01                    8/10/2021           3:00 - 4:16 pm             Grand Rapids




                                                              APPEARANCES
Government:                                              Defendant:                                     Counsel Designation:
Clay M. West / Christopher O'Connor                      Sanford Allen Schulman                         Retained

             TYPE OF HEARING                                  DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                    Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                        Read           Reading Waived
                                                    Waiver of Indictment
       not guilty       guilty                                                            Guilty Plea to Count(s)
                                                    Other:
    Final Pretrial Conference                                                             of the
    Detention        (waived     )
                                                                                          Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                            Court to Issue:

    Bond Violation                                  Order of Detention                        Presentence Report Ordered
    Change of Plea                                  Notice of Sentencing                     Presentence Report Waived
                                                    Order Appointing Counsel                 Plea Accepted by the Court
✔   Sentencing
    Trial                                           Other:                                   Plea Taken under Advisement
    Other:                                                                                    No Written Plea Agreement

                                                               SENTENCING

Imprisonment: 78 months                                               Plea Agreement Accepted:     ✔   Yes     No

Probation:                                                            Defendant informed of right to appeal:    ✔   Yes      No
                                                                      Counsel informed of obligation to file appeal:      ✔ Yes   No
Supervised Release: 10 years
Fine: $ 1,000.00                                                      Conviction Information:
Restitution: $                                                            Date: 1/7/2020
                                                                          By: Plea
Special Assessment: $ 100.00
                                                                          As to Count (s): 1 of the Indictment

ADDITIONAL INFORMATION:
Count 2 and 3 dismissed on motion of the government.




                    CUSTODY/RELEASE STATUS                                              BOND AMOUNT AND TYPE

Remanded to USM                                                          $

CASE TO BE:                                                           TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                              Case Manager:         Y.Carpenter
